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 5
     Attorney for Defendant
     JEREMY R. WARREN
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                        )       No. CR-S-15-189 GEB
                                                      )
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                                                      )
             Plaintiff,                               )       STIPULATION REGARDING
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                                                      )       EXCLUDABLE TIME PERIODS
     v.                                               )       UNDER SPEEDY TRIAL ACT;
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                                                      )       [PROPOSED] FINDINGS AND ORDER
     JEREMY R. WARREN,                                )
13
                                                      )
                                                      )       Date: August 5, 2016
14           Defendant.                               )       Time: 9:00 a.m.
                                                      )       Judge: Honorable Garland E Burrell, Jr.
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                                                      )
                                                      )
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             The United States of America through its undersigned counsel, Michael M. Beckwith,
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     Assistant United States Attorney, together with counsel for defendant Jeremy Warren, John R.
20
     Manning, Esq., hereby stipulate the following:
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22        1. By previous order, this matter was set for status conference on June 24, 2016.

23        2. By this stipulation, the defendant now moves to continue the status conference until
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     August 5, 2016 and to exclude time between June 24, 2016 and August 5, 2016 under the Local
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     CodeT-4 (to allow defense counsel time to prepare). Co-defendant Alyssa Brulez has separately
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     filed a stipulation (ECF#28) seeking to move her portion of this matter to July 8, 2016, for
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28   change of plea.



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           3. The parties agree and stipulate, and request the Court find the following:
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 2            a.    Counsel for the defendant was appointed on June 17, 2016.

 3            b. Counsel for the defendant needs additional time to review the discovery and meet
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                    with the defendant.
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              c. Counsel for the defendant believes the failure to grant a continuance in this case
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 7
                    would deny defense counsel reasonable time necessary for effective preparation,

 8                  taking into account the exercise of due diligence.
 9            d. The Government does not object to the continuance.
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              e. Based on the above-stated findings, the ends of justice served by granting the
11
                    requested continuance outweigh the best interests of the public and the defendant in a
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13                  speedy trial within the original date prescribed by the Speedy Trial Act.

14            f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
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                    Section 3161(h)(7)(A) within which trial must commence, the time period of June 24,
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                    2016 to August 5, 2016, inclusive, is deemed excludable pursuant to 18 United States
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                    Code Section 3161(h)(7)(A) ) and (B)(ii) and (iv), corresponding to Local Code T-4
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19                  because it results from a continuance granted by the Court at defendant’s request on

20                  the basis of the Court’s finding that the ends of justice served by taking such action
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                    outweigh the best interest of the public and the defendant in a speedy trial.
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           4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
23
     Speedy Trial Act dictate that additional time periods are excludable from the period within which
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25   a trial must commence.

26   ///
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     ///
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        IT IS SO STIPULATED.
 1

 2   Dated: June 22, 2016                                  /s/ John R. Manning
                                                           JOHN R. MANNING
 3                                                         Attorney for Defendant
                                                           Jeremy Warren
 4

 5   Dated: June 22. 2016                                  Phillip A. Talbert
                                                           United States Attorney
 6

 7
                                                 by:       /s/ Michael M. Beckwith
                                                           MICHAEL M. BECKWITH
 8                                                         Assistant U.S. Attorney
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11                                       ORDER

12                             IT IS SO FOUND AND ORDERED.

13                                  Dated: June 23, 2016

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